           Case 2:17-cv-01731-TSZ Document 174-1 Filed 07/29/19 Page 1 of 2




 1                                                       THE HONORABLE THOMAS S. ZILLY

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 5
                                    U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                     NO. 2:17-cv-01731-TSZ
 9                            Plaintiff,
                                                       [PROPOSED] ORDER GRANTING
                                                       THE MOTION FOR SUMMARY
10          vs.
                                                       JUDGMENT OF NON-
11                                                     INFRINGEMENT AND AN AWARD
     JOHN DOE, subscriber assigned IP
                                                       OF ATTORNEY FEES AND COSTS
12   address 73.225.38.130,

13                            Defendant.

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,

16                            Counterclaimant,
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            vs.
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     STRIKE 3 HOLDINGS, LLC,
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                              Counterdefendant.
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     WHEREAS:
23      Plaintiff Strike 3 Holdings, LLC sued Defendant JOHN DOE subscriber assigned IP
24   address 73.225.38.130, for the infringement of 87 Works. (Docket 43-1).            Defendant

25   counterclaimed a declaratory relief of non-infringement on the 87 works.
            This Court ordered Defendant to file a motion for summary judgment on the issue of non-
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     infringement of the 87 works and also prove-up fees and costs. Defendant timely filed this
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     [PROPOSED] ORDER GRANTING THE MOTION FOR
     SUMMARY JUDGMENT OF NON-INFRINGEMENT AND
     AN AWARD OF ATTORNEY FEES AND COSTS - 1
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 1   motion and provided evidence that there was no triable issue of fact that Strike 3 Holdings, LLC
     can demonstrate that John Doe infringed the 87 works. This Court finds that John Doe did not
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     infringe the 87 works.
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              John Doe is the prevailing party under the Copyright Act. 17 USC §505. John Doe has
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     demonstrated reasonable fees and costs pursuant to a Lodestar analysis. John Doe is entitled to
 5   fees and costs and is awarded the amounts of ______ (fees) and _____ (costs) for a total of
 6   _____.
 7                                                       So Ordered:

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10                                                       United States District Court

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     [PROPOSED] ORDER GRANTING THE MOTION FOR
     SUMMARY JUDGMENT OF NON-INFRINGEMENT AND
     AN AWARD OF ATTORNEY FEES AND COSTS - 2
     CASE NO. 2:17-CV-01731-TSZ
